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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



John Doe,                                             COURT MINUTES - CIVIL
                                                    BEFORE: DAVID T. SCHULTZ
      Plaintiff,                                       U.S. Magistrate Judge

v.                                            Case No.: 16-cv-1127 JRT/DTS

University of St. Thomas,

      Defendant.                              Date:               April 18, 2018
                                              Court Reporter:     Maria Weinbeck
                                              Location:           9E
                                              Time:               9:05 a.m. – 10:03 a.m.
                                              Total Time:         58 Minutes


APPEARANCES:

Beau D. McGraw, Esq. on behalf of Plaintiff

Maren F. Grier, Esq. on behalf of Defendant


PROCEEDINGS:
    # 95 Plaintiff’s Motion to Compel Discovery

X     Order issued from the bench

NOTES:
        On the record, Plaintiff’s motion was granted in part and denied in part. First,
Defendant was ordered to provide Plaintiff all accessible relevant training materials in
possession of the response manager, the appeal officer, members of the appeal panel,
the process advisor, the investigators, and the Title IX coordinator, for the five years
preceding Plaintiff’s complaint. The ordered materials encompass both those provided
by the University of St. Thomas and those provided by third parties.
        Second, Defendant was ordered to provide Plaintiff with a document echoing the
information contained within the University of St. Thomas’ sexual assault investigation
spreadsheet, with the names of those involved omitted, for the five years preceding
Plaintiff’s complaint. In addition, Defendant must provide Plaintiff any training materials
provided to sexual assault appeals panels from that period.


                                                                                E. Adams
                                                                                Law Clerk
